       The following cases in which the Court of Appeals issued published opinions have been
appealed to the Supreme Court:

    1. Brandon Scott Blankenship
       v. Commonwealth of Virginia
       Record No. 1455-18-3
       Opinion rendered by Judge Humphreys on
        March 10, 2020

    2. Cody W. Brewer
       v. Commonwealth of Virginia
       Record No. 1665-18-2
       Opinion rendered by Chief Judge Decker on
        March 10, 2020
   The following case in which the Court of Appeals issued a published opinion has been
disposed of by the Supreme Court:

1. Andrew Gilbert Schmuhl
   v. Commonwealth of Virginia
   Record No. 1572-16-4
   Opinion rendered by Judge Beales
    on September 11, 2018
   Judgment of Court of Appeals affirmed by order entered on November 7, 2019
   (181596)

2. Patrick Joseph Wakeman
   v. Commonwealth of Virginia
   Record No. 1631-17-4
   Opinion rendered by Judge Russell
     on November 27, 2018
   Judgment of Court of Appeals affirmed by order entered on March 12, 2020
   (181680)

3. Clinard Gary Lambert
   v. Commonwealth of Virginia
   Record No. 1762-17-3
   Opinion rendered by Judge O’Brien
     on March 12, 2019
   Judgment of Court of Appeals affirmed by opinion rendered on April 9, 2020
   (190439)

4. Timothy Ducharme
   v. Commonwealth of Virginia
   Record No. 0706-18-4
   Opinion rendered by Judge Annunziata
     on August 6, 2019
   Refused (191150)
       On April 9, 2020 the Supreme Court issued an opinion in the following case, which had
been appealed from this Court

    1. Candace Rene Caldwell
       v. Commonwealth of Virginia
       Record No. 0827-18-3
       CAV petition for appeal denied by Judge Alston on January 17, 2019
         and by Judges Humphreys, Chafin and AtLee on April 15, 2019
       Judgment of Court of Appeals reversed and final judgment entered dismissing
          the indictment by opinion rendered on April 9, 2020
       (190541)
